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EXHIBIT K

Case 1:09-cv-00597-Ll\/lB-TCB Document 38-12 Filed 10/23/09 Page 2 of 3 F’agleaii§`jz#l6‘2t7‘d

Roth, Me|issa R.

From: Dickinson, Nliche|le J.

Sent: Tuesday, October 06, 2009 4:12 PNl
To: isabel lVl Humphrey

Cc: dludwig@dgiegal.com; Roth, |V|elissa R.
Subject: RE: Loomis

|sabeL

As much as we want very much to expedite your production of documents we cannot agree to an atl-native
production of documents from your clients in light of the data destruction and falsification issues in this case. As
agreed in the Discovery Plan, other than spreadsheetsl PowerPoints and Hnanciai systems such as Quickbooks.
which must be produced in native format all other documents must be produced as TlFF images, Bates
numbered with an accompanying Concordance load fite and the following metadata: to, from. cc, bccl date
sent/received, subject/re:, extracted text, date created, date modified, date last accessed, beg doc, end doc, beg
attach, and end attach. lf the vendor you chose in Canada is not able to make the conversionsl l suggest you hire
another vendor asap and let us know when you expect to produce Joe Loomis' electronic documents

Your clients' responses to intersectionsl document requests were due almost one month ago. You have not
produced a single document for either of your clients. The fact that you have just now identified a data conversion
problem with Joe Loomis' electronic documents is concerning and does not explain why you have not produced a
single document for Jenni Loornis. We need to discuss this on the telephone immediately and determine whether
we need the court's assistance with this and all of the other outstanding discovery issues in this case Piease
conhrm your availability for a phone conference tomorrow at 1:00 EST. We have asked for this call numerous
times and have received either no response or the promise of a letter responding to our concerns lf you do

not confirm your availability for the call tomorrow proffer another time, we will have no choice but to seek the
courts assistance

l’viiche|le

From: Isabe| M Humphrey [mailto:isabe!@hhy|aw.com]
Sent: Tuesdayr October 06, 2009 2:47 PM

To: Dickinson, Michelle J.

Cc: d|udwig@dglegal.com; Roth, Me|issa R.

Subject: RE: Loomis

l\i'lichel|el Joe has been working with a vendor in Canada on the document conversionsl but they are
having a problem with his Out|ook files The conversion process keeps skipping large numbers of emails.
The problem supposedly may have something to do with some of the emaiis originating from thce 2003
(rather than Office 2007), and/or with the sheer size of Joe's .pst fi|e, but no solution has been identified
thus far. The vendor is running various tests in an attempt to resolve the issue, but this is taking longer
than expectedl

Given our schedule, Joe has offered to provide his emai| disciosures in native format to get them to you
more quickly Let me know if you would like to take him up on this offer andy if so, how you think we could
best handle document control\

|sabei Nl. i-iumphreyl Esq.

HUNTER, l-lUlVlPHREY & VAVITZ, PLC
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Phoenixl Arizona 85016

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10/22/2009

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Direct Fax: 480-452-1374
isabel@hhyiaw.com
www.hhy|aw.com

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_ Original Message ---

From: "iiJickinsonl lVlicheile J."

To: "isabel lVl Humphrey" , "Randy Yavitz" ,
Sent: 10/05/2009 10:22AN1

Subject: i.oomis

Counse|'.

We are concerned that your clients have several outstanding discovery issues that need to be addressed
completely before we begin depositions We would like to set up a call to discuss the following discovery
issues

c Responses to our letters dated September 9, 18, and 25 regarding deficiencies in your
clients' discovery responses;

o Your clients' production of documents;

¢ imaging of computers; and

. Deposition dates

We can be available today at 3 p.m. EST or tomorrow at 4 p.m. EST. Please let me know if if either of
those times works for you. Thanks.
N|ichelle

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(20091005)

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